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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS

FERRELL COMPANIES, INC.,                  )
                                          )
                    Plaintiff,            )
                                          )
v.                                        )    Case No. 2:20-cv-02229-JTM-KGG
                                          )
GREATBANC TRUST COMPANY                   )
and HOULIHAN LOKEY CAPITAL,               )
INC.,                                     )
                                          )
                    Defendants.           )

     UNOPPOSED MOTION FOR EXTENSION OF TIME FOR DEFENDANT
     HOULIHAN LOCKEY CAPITAL INC. TO RESPOND TO COMPLAINT

      Defendant Houlihan Lokey Capital, Inc. (“Houlihan Lokey”) respectfully requests

an extension of time to answer or otherwise respond to the Complaint in this matter

pursuant to Local Rule 6.1(a). In support of this Motion, Houlihan Lokey states as

follows:

      1.     Houlihan Lokey’s response to the Complaint was originally due on or

before May 27, 2020.

      2.     On May 26, 2020, the clerk extended Houlihan Lokey’s time to respond

pursuant to Local Rule 77.2(a)(2), making Houlihan Lokey’s response due on or before

June 10, 2020.

      3.     Houlihan Lokey needs additional time to prepare its response.

      4.     Houlihan Lokey respectfully requests that its deadline to respond be

extended to on or before June 19, 2020.
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        5.    Houlihan Lokey has consulted with the other parties to this action, Plaintiff

Ferrell Companies, Inc. and Greatbanc Trust Company, regarding this Motion. Neither

party opposes the requested extension.

        6.    No party will be prejudiced by the requested extension.

        For the reasons set forth above, Houlihan Lokey respectfully requests that its time

to answer or otherwise respond to the Complaint be extended to on or before June 19,

2020.


Dated: June 9, 2020                        Respectfully submitted,

                                           By: /s/ Carrie D. Phillips
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                                           Phillip G. Greenfield KSD Bar No. 70044
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                                           Attorneys for Defendant Houlihan Lokey
                                           Capital Inc.



                              CERTIFICATE OF SERVICE

       I hereby certify that, on June 9, 2020, a copy of the foregoing document was filed with
the Clerk of the Court on the CM/ECF system, which will send a notice of electronic filing to
counsel of record.

                                               /s/ Carrie D. Phillips
                                           Attorney for Defendant Houlihan Lokey
                                           Capital Inc.

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